  Case 3:19-cv-00207   Document 642     Filed on 05/08/23 in TXSD   Page 1 of 1
                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                          May 08, 2023
                     UNITED STATES DISTRICT COURT
                                                                       Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION

KIRBY INLAND MARINE, LP,               §
                                       §
        Plaintiff,                     §
VS.                                    §              3:19-cv-207
                                       §
FPG SHIPHOLDING PANAMA 47              §
S.A., K LINE ENERGY SHIP               §
MANAGEMENT, and the VLGC               §
GENESIS RIVER, in rem,                 §
                                       §
        Defendants.                    §

                                   ORDER

      The court has been advised that a settlement has been reached between

the plaintiff and the defendants. Accordingly, the court orders that all claims

against the defendants in the above-styled case are dismissed with prejudice

to refiling, unless either party represents in a writing filed with the court on

or before Wednesday, June 7, 2023, that the settlement could not be

completely documented. If the parties wish the case disposed of on an agreed

final judgment rather than this order, it must be submitted to the court on or

before Wednesday, June 7, 2023.

      Signed on Galveston Island this 8th day of May, 2023.


                                      ___________________________
                                      JEFFREY VINCENT BROWN
                                      UNITED STATES DISTRICT JUDGE
